Case 19-59740-wlh       Doc 88     Filed 01/18/22 Entered 01/18/22 12:15:43           Desc Main
                                   Document      Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                        :      CHAPTER 7
                                                 :
   KEIDRA AIESHA ALI-GADSON,                     :      CASE NO. 19-59740-WLH
                                                 :
            Debtor.                              :
                                                 :

                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On January 14, 2022, the Trustee sold real property of the estate known as 1691

   Tree Line Road, Lithonia, GA 30058 (“Property”) to SSFR Atlanta Acquisition (No. 1),

   LP by its general partner, SSFR Atlanta Acquisition (No. 1) (GP) LLC (“Purchaser”) for

   $190,000.00 as ordered and approved by the Court on January 10, 2022 [Doc. No. 85].

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchaser

   and has received net funds of $51,324.71 from the sale.

            Respectfully submitted this 18th day of January, 2022.

                                                            /s
                                                        S. Gregory Hays
   Hays Financial Consulting, LLC                       Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
Case 19-59740-wlh   Doc 88   Filed 01/18/22 Entered 01/18/22 12:15:43   Desc Main
                             Document      Page 2 of 4



                                  Exhibit “A”
Case 19-59740-wlh   Doc 88   Filed 01/18/22 Entered 01/18/22 12:15:43   Desc Main
                             Document      Page 3 of 4
Case 19-59740-wlh       Doc 88     Filed 01/18/22 Entered 01/18/22 12:15:43         Desc Main
                                   Document      Page 4 of 4



                                CERTIFICATE OF SERVICE

          I, S. Gregory Hays, certify that I am over the age of 18 and that on this date, I
   served a copy of the foregoing Report of Sale by first class U.S. Mail, with adequate
   postage prepaid on the following persons or entities at the addresses stated and upon all
   the following persona or entities at the addresses stated:

           Office of the United States Trustee
           362 Richard B. Russell Building
           75 Ted Turner Drive, SW
           Atlanta, GA 30303

           Rushi D. Patel
           The Patel Law Group, LLC
           1995 North Park Place, SE
           Suite 565
           Atlanta, GA 30339

           Kedra Aiesha Ali-Gadson
           PO Box 128
           Redan, GA 30074


          This 18th day of January, 2022.

                                                          /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
